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Attorneys for Defendant
       Benjamin Landry

                       IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


KRISTI YEARGAIN, RYAN BENZIE,              )     Case No. CV 06-00148-MHW
LYNETTE BENZIE, MARK ENGELS,               )
and KRISTEN ENGELS,                        )
                                           )     DEFENDANT BENJAMIN
             Plaintiffs,                   )     LANDRY’S ANSWER
                                           )
vs.                                        )
                                           )
QWEST COMMUNICATIONS,                      )
JOHN MCCORMICK, and                        )
BENJAMIN LANDRY,                           )
                                           )
             Defendants.                   )
                                           )




DEFENDANT BENJAMIN LANDRY’S ANSWER - 1
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       COMES NOW Defendant, Benjamin Landry (hereinafter also referenced as “Defendant,”

by and through his attorney of record, Cynthia Yee-Wallace, of the firm Davison, Copple, Copple

& Cox, LLP, of Boise, Idaho, and hereby respond to Plaintiffs’ Complaint (hereinafter also referred

to as “Plaintiffs”), and admits, denies, and alleges as follows:

                                        FIRST DEFENSE

       Plaintiffs’ Complaint fails to state a claim against Defendant upon which relief can be

granted.

                                       SECOND DEFENSE

                                                  I.

       Defendant denies any and all allegations contained in Plaintiffs’ Complaint not specifically

admitted herein.

                                                 II.

       Defendant admits the allegations contained in Subparagraphs 5, 7 and 8 contained in

Paragraph I of the Introduction of Plaintiffs’ Complaint.

                                                 III.

       Defendant denies each and every allegation contained in Subparagraphs 1, 11, 12, 13, 14,

and 15 contained in Paragraph I of the Introduction of Plaintiffs’ Complaint.

                                                 IV.

       Defendant is without sufficient information to form a belief regarding the allegations

contained in Subparagraphs 2, 3, 4, and 6 contained in Paragraph I of the Introduction of Plaintiffs’

Complaint, and therefore denies the same.




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                                                V.

       In answering the allegations contained in Subparagraph 9 contained in Paragraph I of the

Introduction of Plaintiffs’ Complaint, Defendant admits that he was employed at Qwest

Communications, but is without sufficient information to form a belief regarding the remaining

allegations contained therein and therefore denies the same.

                                               VI.

       In answering the allegations contained in Subparagraph 10 contained in Paragraph I of the

Introduction of Plaintiffs’ Complaint, Defendant admits that Lynette Benzie, Kristen Engels, and

Kristi Yeargain are or were employed at Qwest Communications, but is without sufficient

information to form a belief regarding the remaining allegations contained therein and therefore

denies the same.

                                               VII.

       Defendant denies each and every allegation contained in Subparagraphs 16, 17, 18, 19, 20

and 21 contained in Paragraph II of Plaintiffs’ First Cause of Action: Common Law Tort of Battery

in Plaintiffs’ Complaint.

                                              VIII.

       Defendant denies each and every allegation contained in Subparagraphs 22, 23, and 24

contained in Paragraph III of Plaintiffs’ Second Cause of Action: Negligent Infliction of Emotional

Distress in Plaintiffs’ Complaint.

                                               IX.

       Defendant denies each and every allegation contained in Subparagraphs 25, 26, and 27

contained in Paragraph IV of Plaintiffs’ Third Cause of Action: Intentional Infliction of Emotional


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Distress in Plaintiffs’ Complaint.

                                                X.

       Defendant denies each and every allegation contained in Subparagraphs 28, 29, and 30

contained in Paragraph V of Plaintiffs’ Fourth Cause of Action: Negligent Hiring, Supervision,

Training and Retention in Plaintiffs’ Complaint.

                                               XI.

       Defendant denies each and every allegation contained in Subparagraphs 31, 32, and 33

contained in Paragraph VI of Plaintiffs’ Fifth Cause of Action: Violation of Title VII of the Civil

Rights Act of 1964 As Amended in Plaintiffs’ Complaint.

                                               XII.

       Defendant denies each and every allegation contained in Subparagraphs 34, 35, and 36

contained in Paragraph VII of Plaintiffs’ Sixth Cause of Action: Violation of the Idaho Human

Rights Act, Idaho Code section 67-5909 et seq. in Plaintiffs’ Complaint.

                                              XIII.

       Defendant denies each and every allegation contained in Subparagraphs 37 and 38 contained

in Paragraph VIII of Plaintiffs’ Damages Allegations in Plaintiffs’ Complaint.

                                              XIV.

       In answering Plaintiffs’ Notice of Intent to Seek Punitive Damages, Defendant affirmatively

states that such notice does not require a response or answer from Defendant, that Plaintiffs must

comply with Idaho Code sections 6-1601, 6-1602, 6-1603, 6-1604, and 6-1605, Title VII of the Civil

Rights Act of 1964, and the Idaho Human Rights Act, and that Plaintiffs are not entitled to relief

under the same.


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                                                  XV.

        In answering Plaintiffs’ Notice of Intent to Seek Finding of Reckless Conduct, Defendant

affirmatively states that such notice does not require a response or answer from Defendant, that

Plaintiffs must comply with Idaho Code sections 6-1601, 6-1602, 6-1603, 6-1604, and 6-1605, Title

VII of the Civil Rights Act of 1964, and the Idaho Human Rights Act, and that Plaintiffs are not

entitled to relief under the same.

                                                  XV.

        Defendant denies that Plaintiffs are entitled to relief as requested in the Prayer for Relief in

Plaintiffs’ Complaint.

                                                 XVI.

        Discovery in the above case is ongoing, and Defendant hereby reserves the right to allege

        and

supplement this Answer and to include any and all additional claims and defenses.

                                                 XVII.

        It has been necessary for Defendant to retain counsel to defend his interest in the above-

entitled litigation and as a result thereof, Defendant requests that all of its costs and attorneys’ fees

be paid by the Plaintiffs in such amounts as the Court deems just and proper pursuant to applicable

laws.

                                     AFFIRMATIVE DEFENSES

                                 FIRST AFFIRMATIVE DEFENSE

        As an affirmative defense herein, Defendant alleges that the Plaintiffs’ claims are barred by

the doctrines of waiver, estoppel, consent, and unclean hands.


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                              SECOND AFFIRMATIVE DEFENSE

       As an additional affirmative defense herein, Defendant alleges that Plaintiffs’ claims are

barred by the applicable statute of limitations.

                                  THIRD AFFIRMATIVE DEFENSE

       As an additional affirmative defense herein, Defendant alleges that Plaintiffs’ claims are

barred for failure to exhaust and comply with administrative and/or contractual remedies.

                              FOURTH AFFIRMATIVE DEFENSE

       As an additional affirmative defense herein, Defendant alleges that Plaintiffs’ claims are

barred by the doctrine of laches.

                                  FIFTH AFFIRMATIVE DEFENSE

       As an additional affirmative defense herein, Defendant alleges Plaintiffs’ claims are barred

in whole or in part by the Idaho Workers’ Compensation Act, Idaho Code sections 72-101 et seq.

                                  SIXTH AFFIRMATIVE DEFENSE

       As an additional affirmative defense herein, Defendant alleges that Plaintiffs’ have failed to

mitigate their damages, if any, and that whatever damages may have been sustained by Plaintiffs

were enhanced and exacerbated by their own acts and omissions. Plaintiffs’ right to recovery, if any,

is therefore reduced or barred.

                             SEVENTH AFFIRMATIVE DEFENSE

       As an additional affirmative defense herein, Defendant alleges that Plaintiff has failed to join

indispensable parties.

                              EIGHTH AFFIRMATIVE DEFENSE

       As an additional affirmative defense herein, Defendant alleges that Plaintiffs unreasonably


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failed to take advantage of any preventive or corrective opportunities by Quest or to otherwise avoid

harm.

                                NINTH AFFIRMATIVE DEFENSE

        As an additional affirmative defense herein, Defendant alleges that he has not engaged in

sexual harassment toward the Plaintiffs.

                                TENTH AFFIRMATIVE DEFENSE

        As an additional affirmative defense herein, Defendant alleges that Plaintiffs’ claims are

barred or limited by the after-acquired evidence doctrine.

                              ELEVENTH AFFIRMATIVE DEFENSE

        As an additional affirmative defense herein, Defendant alleges that Plaintiffs’ Complaint fails

to state a claim against Defendant upon which relief can be granted.

                               TWELFTH AFFIRMATIVE DEFENSE

        As an additional affirmative defense herein, Defendant alleges that any and all damages

alleged by Plaintiffs in their Complaint were caused in whole or in part by the negligence, acts, or

omissions of Plaintiffs and not by the acts and omissions of the Defendant and thus their claims are

barred in whole or in part.

                              THIRTEENTH AFFIRMATIVE DEFENSE

        As an additional affirmative defense herein, Defendant alleges that if Plaintiffs have any

damages as alleged by Plaintiffs in their Complaint, such damages were not caused by Defendant

in any way.




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                             FOURTEENTH AFFIRMATIVE DEFENSE

          As an additional affirmative defense herein, and without waiving any foregoing denial of

negligence or causation, Defendant alleges that any responsibility ultimately attributable to him must

be compared with the responsibility of other persons or entities, including the Plaintiffs, whether or

not a party to this litigation pursuant to Idaho law and that such negligent, acts, or omissions of such

parties constitutes comparative negligence which bars or reduces Plaintiffs’ recovery, if any, against

Defendant.

                              FIFTEENTH AFFIRMATIVE DEFENSE

          As an additional affirmative defense herein, Defendant alleges that any interference, action,

inaction, or omission alleged to have taken place by Plaintiffs on the part of Defendant was not

intentional or conducted with improper means or purpose.

                              SIXTEENTH AFFIRMATIVE DEFENSE

          As an additional affirmative defense herein, Defendant alleges that any interference, action,

inaction, or omission alleged to have taken place by Plaintiffs on the part of Defendant was not

unwelcome, harmful, or offensive.

                               SEVENTH AFFIRMATIVE DEFENSE

          As an additional affirmative defense herein, Defendant alleges that any interference, action,

inaction, or omission alleged to have taken place by Plaintiffs on the part of Defendant was not

extreme or outrageous and that Plaintiffs have not suffered severe emotional distress or physical

injury.




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       NOW WHEREFORE, Defendant Benjamin Landry prays for the following relief:

       1.     That the Plaintiffs’ Complaint be dismissed with prejudice and the Plaintiffs take

nothing therefrom;

       2.     That the Court award the Defendant’s reasonable attorney fees and costs; and

       3.     For such other and further relief as the Court deems appropriate, proper, and just.

       DATED this 5th day of June, 2006.

                                            DAVISON, COPPLE, COPPLE & COX, LLP



                                            By:__________/s/_____________________________
                                                  Cynthia Yee-Wallace, of the firm
                                                   Attorneys for Defendant Benjamin Landry




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                                   CERTIFICATE OF SERVICE

       I hereby certify that on the 5th day of June, 2006, I filed the foregoing electronically through
the CM/ECF system, which caused the following parties or counsel to be served by electronic
means, as more fully reflected on the Notice of Electronic Filing:

                                       David E. Comstock
                                       Comstock & Bush
                                       Attorneys for Plaintiffs
                                       decomstock@comstockbush.com

                                       Shelly H. Cozakos
                                       Perkins Coie
                                       Attorneys for Defendants Qwest and McCormick
                                       Scozakos@perkinscoie.com

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                                       Perkins Coie
                                       Attorneys for Defendants Qwest and McCormick
                                       Lwalton@perkinscoie.com



                                               _______________/s/___________________________
                                                     Cynthia Yee-Wallace




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